   Case 2:17-cv-00593-MHT-CSC Document 38 Filed 10/19/20 Page 1 of 2




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


WILLIE J. JOHNSON, III,            )
                                   )
     Petitioner,                   )
                                   )         CIVIL ACTION NO.
     v.                            )           2:17cv593-MHT
                                   )                (WO)
DEWAYNE ESTES, et al.,             )
                                   )
     Respondents.                  )

                              JUDGMENT

    In accordance with the memorandum opinion entered

today, it is the ORDER, JUDGMENT, and DECREE of the

court:

    (1) Petitioner's        objections       (doc.     no.    36)      are

overruled.

    (2) The       United       States        Magistrate        Judge's

recommendation (doc. no. 35) is adopted.

    (3) The petition for writ of habeas corpus (doc.

no. 1), as amended, is denied as time-barred.

    It is further ORDERED that costs are taxed against

petitioner, for which execution may issue.

    The clerk of the court is DIRECTED to enter this

document   on   the    civil    docket     as   a    final    judgment
   Case 2:17-cv-00593-MHT-CSC Document 38 Filed 10/19/20 Page 2 of 2




pursuant   to   Rule    58   of    the   Federal    Rules    of   Civil

Procedure.

    This case is closed.

    DONE, this the 19th day of October, 2020.

                                     /s/ Myron H. Thompson
                                  UNITED STATES DISTRICT JUDGE
